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7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           No. Cr. S 09-224-05 WBS
12                             Plaintiff,                STIPULATED MOTION AND [lodged] ORDER
                                                         TO REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   JUAN BERNARDO RODRIGUEZ,                            RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable WILLIAM B. SHUBB
16
17             Defendant, JUAN BERNARDO RODRIGUEZ, by and through his attorney, Assistant
18   Federal Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and
19   through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On December 20, 2012, this Court sentenced Mr. Rodriguez to a term of 70

25   months as to Count 1 and 26 months as to Count 3, to be served consecutively to each other, for

26   a total term of 96 months imprisonment;

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1              3.         As to Count 1, his total offense level was 31, his criminal history category was V,
2    and the resulting guideline range was 168 to 210 months. He received a reduction from the low
3    end of the applicable guideline range on the government’s motion;
4              4.         The sentencing range applicable to Mr. Rodriguez was subsequently lowered by
5    the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
6    2014, see 79 Fed. Reg. 44,973;
7              5.         Mr. Rodriguez’ total offense level as to Count 1 has been reduced from 31 to 29,
8    and his amended guideline range is 140 to 175 months; a reduction comparable to the one
9    received at the initial sentencing would produce a term of 58 months;
10             6.         Accordingly, the parties request the Court enter the order lodged herewith
11   reducing Mr. Rodriguez’ term of imprisonment to 58 months as to Count 1, and 26 months as to
12   Count 3, to be served consecutively to each other, for a total term of 84 months imprisonment.
13   Respectfully submitted,
14   Dated: May 15, 2015                                Dated: May 15, 2015
15   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
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17    /s/ Jason Hitt                                    /s/ David M. Porter
     JASON HITT                                         DAVID M. PORTER
18   Assistant U.S. Attorney                            Assistant Federal Defender
19   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JUAN BERNARDO RODRIGUEZ
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21                                                     ORDER
22             This matter came before the Court on the stipulated motion of the defendant for reduction
23   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
24             The parties agree, and the Court finds, that Mr. Rodriguez is entitled to the benefit
25   Amendment 782, which reduces the total offense level as to Count 1 from 31 to 29, resulting in
26   an amended guideline range of 140 to 175 months. A reduction comparable to the one received
27   at the initial sentencing would produce a term of 58 months. In reviewing the file in this matter
28   the court has considered not just the original Presentence Report, but the letter submitted by the

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1    government at the time of sentencing, requesting a departure under § 5K1.1 of the Sentencing
2    Guidelines. For the same reasons that the court considered in reducing the original sentence
3    below the applicable guidelines, the court now finds it appropriate to reduce the sentence below
4    the newly calculated guidelines. The court notes that it is only reducing the term imposed on the
5    drug count, and not the term imposed for the non-drug offense. After considering all of the
6    relevant factors set forth in 18 U.S.C. § 3553(a),
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in December 2012 is
8    reduced to a term of to 58 months as to Count 1, and 26 months as to Count 3, to be served
9    consecutively to each other, for a total term of 84 months imprisonment.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             Unless otherwise ordered, Mr. Rodriguez shall report to the United States Probation
15   Office within seventy-two hours after his release.
16   Dated: May 26, 2015
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